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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


DANIEL WILLIAM RUDD,                               HON. GORDON J. QUIST
                                                   U.S. District Judge
              Plaintiff,
v                                                  Case No. 1:18-cv-124

THE CITY OF NORTON SHORES;
MAYOR GARY NELUND, individually
and in his official capacity;
POLICE CHIEF DANIEL SHAW,
individually and in his official capacity;
SERGEANT MATTHEW RHYNDRESS,                         MOTION AND ORDER ALLOWING
individually and in his official capacity;          BOLHOUSE, HOFSTEE, & MCLEAN
OFFICER MICHAEL WASSILEWSKI,                        PC TO WITHDRAW AS ATTORNEY
individually and in his official capacity;          OF RECORD FOR DEFENDANT
MARK MEYERS, Individually and as city               MELISSA MEYERS
manager,
----
F/LT. CHRIS MCINTIRE, Michigan State Police
only in his individual capacity;
----
ATTORNEY DOUGLAS HUGHES,
individually and acting on behalf of his law firm;
WILLIAM HUGHES,PLLC, a Michigan law firm.
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ATTORNEY MELISSA MEYERS, individually and
acting on behalf of her law firm;
ATTORNEY MICHELLE MCLEAN, individually and
acting on behalf of her law firm;
ATTORNEY JOEL BAAR, individually and
acting on behalf of his law firm;
BOLHOUSE, BAAR & HOFSTEE PC; a Michigan
Law firm.
                   Defendants.
_______________________________________________________________________
Daniel W. Rudd                                      Richard L. Bolhouse (P29357)
Plaintiff, In Pro Per                               Bolhouse, Hofstee, & McLean PC
201 S. Lake Ave                                     Attorneys for Defendants
Spring Lake, MI 49456                               McLean, Baar, and Bolhouse,
231-446-2532                                        Hofstee & McLean PC
daniel@stock20.com                                  39996 Chicago Dr. SW
                                                    Grandville, MI 49418
                                                    616-531-7711
                                                    rickb@bolhouselaw.com


MOTION AND ORDER ALLOWING BOLHOUSE, HOFSTEE, & MCLEAN PC TO WITHDRAW
         AS ATTORNEY OF RECORD FOR DEFENDANT MELISSA MEYERS
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       NOW COMES Bolhouse, Hofstee, & McLean PC (“Bolhouse”) and does hereby motion
this Honorable Court to withdraw as attorney of record for Defendant Melissa Meyers (“Meyers”)
and states in support:

       1.      That Bolhouse is not able to continue to represent Meyers due to a breakdown of
the attorney-client relationship and therefore Bolhouse must withdraw from continued
representation of Meyers.

       2.       That Bolhouse has provided notice of this Motion on Meyers via email and via
U.S.P.S first class mail pursuant to the Proof of Service filed in this matter.

         3.    That all other parties to this matter have been provided notice via the electronic
filing system.

       4.     That a copy of the proposed order is attached as Exhibit A.


                                            Respectfully submitted,

Dated: April 16, 2018                       Bolhouse, Baar & Hofstee, P.C.


                                            By: /s/ Michelle M. McLean
                                                    Michelle M. McLean (P71393)
                                                    Richard L. Bolhouse (P29357)

                                            Bolhouse, Hofstee, & McLean PC
                                            Grandville State Bank Building
                                            3996 Chicago Drive SW
                                            Grandville MI 49418
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                                            Attorneys for Defendants, Michelle McLean, Joel
                                            Baar, and Bolhouse, Hofstee, & McLean PC
